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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                                 :
   SHIRLEY A. CARPIN, as Executor of the         :
   Estate of SHIRLEY A. HILSTER, Deceased        :             W.D. PA. No.: 2:20-CV-01537-MJH
   and CHARLES W. HILSTER, JR.,                  :
   Individually,                                 :             ASBESTOS CASE
                                                 :
                                     Plaintiffs, :
                                                 :
                 -against-                       :
                                                 :
   AIR & LIQUID SYSTEMS CORPORATION, :
   as successor by merger to BUFFALO PUMPS :
   INC., et al.,                                 :
                                                 :
                                   Defendants. :

                              DISMISSAL WITHOUT PREJUDICE OF
                             DEFENDANT SEQUOIA VENTURES INC.

           Plaintiffs, Shirley A. Carpin, as Executor of the Estate of Shirley A. Hilster, Deceased, and

   Charles W. Hilster, Jr., (collectively “Plaintiffs), hereby dismiss all claims and causes of action

   against Defendant Sequoia Ventures Inc., only, without prejudice, with each side to bear its own

   costs and attorneys’ fees. Plaintiffs retain their claims and causes of action against all other named

   Defendants.

   Dated: June 6, 2022                                   Respectfully submitted,


                                                  By:    /s/_____________________
                                                         Benjamin D. Braly
                                                         PA State Bar No. 312760
                                                         Dean Omar Branham Shirley, LLP
                                                         302 N. Market Street, Suite 300
It is so ordered.                                        Dallas, TX 75226
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____________________________                             bbraly@dobslegal.com
Marilyn J. Horan
United States District Judge
                                                         ATTORNEYS FOR PLAINTIFFS
